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| Appendix G
AFFIDAVIT :

STATE OF Florida

COUNTY OF _ Hillsborough County

BEFORE ME, the undersigned authority, personally appeared TD Ameritrade ;
who, being duly sworn by me, deposed and said:

1.1, Gwendolyn Y. Mickens am over the age of eighteen (18) years, of sound mind, and fully
competent to make this affidavit. I have personal knowledge of the facts stated herein, and they are true
and correct.

2. My address is: 4318 Cross Ridge Ct., Valrico, FL 33594.

3. [am a shareholder in MMTLP security, which I purchased through TD Ameritrade, INC. on or
about. 10-17-2022.

4. On _ 12-12-2022 at 9:12 a.m. and on _12-13-2022 at 10:08 a.m. _, TD Ameritrade, INC. informed
me that even if FINRA ordered trading to resume in MMTLP, Schwab would not allow me to trade it in

my account.

6. I have attached the following documents to this affidavit as Exhibits and they are described as
follows:

Exhibit A: [Describe the document, e.g., "a copy of the communication from Charles Schwab
and Co. received on [Date]"].

Exhibit B**: [Describe any other attached documents, if applicable].

8. I understand that I am signing this affidavit under pains of perjury and that all of the foregoing is
truthful.

SIGNATURE: Avery cpoke Dur heoro

[Your Full Name]
S
SWORN TO AND SUBSCRIBED BEFORE ME on this 2 day ofa ehbebe 2024, by
C wea ds lun 4. Mickens , who is personally known to me or has produced as
identification a! FL De

NOTARY PUBLIC sionarorn 4s aVIy——_>

PRINTED NAME: Ashlou sh (ie

MY COMMISSION EXPIRE: \ 02: 1/3°2023 pte. ASHLEY JOHNSON
‘ iSO) Notary Public - State of Florida

PREZ! commission # HH 492016
“PEE My Comm. Expires Feb 13, 2028

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county or 6y\e.

BEFORE ME, the undersigned authority, personally appeared AatNony Evbathex, who, being duly
sworn by me, deposed and said: \

Lt fvihony Erbathe 7 am over the age of eighteen (18) years, of sound mind, and fully
competent to niake this affidavit. I have petsonal knowledge of the facts stated herein, and they are true
and correct.

2. My address is: 24 Huntington ct, Amherst, NY 14221.
3. 1am a shareholder in MMTLP security, which I purchased through Charles Schwab and Co. on or
about 3/4/2021 — 12/6/2022.

4. On 12/11/2022, Charles Schwab and Co. informed me that even if FINRA ordered trading to resume
in MMTLP, Schwab would not allow me to trade it in my account.

6. Lhave attached the following documents to this affidavit as Exhibits and they are described as
follows:

Exhibit A: A copy of the communication from Charles Schwab and Co. through Schwab’s live
chat feature on 12/11/2022.

8. L understand that I am signing this affidavit under pains of perjury and that all of the foregoing is
truthful.

SIGNATURE: Cull. ALA
[Your Full Name] Ng

SWORN TO AND SUBSCRIBED BEFORE ME on this \\{" day of Auayst 2024, by
AnYnony f rDoans who is personally kno
identificatiova M\\°

Wikoia Rewer lunente ne ee Be
Ze al/
NOTARY PUBLIC SIGNATURE:_ > 7 « JELLY
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PRINTED NAME: _OTe@)\ON\U Mywi\19 0 ERIE COUNTY
MY COMMISSION EXPIRE:

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COMM. EXP. 06/13/2027

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to sell my shares through the 12th. \

